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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


OPTUM, INC. and
OPTUM SERVICES, INC.,

              Plaintiffs,

        v.                                              Civil Action No. 19-cv-10101

DAVID WILLIAM SMITH,

              Defendant.



             DEFENDANT DAVID WILLIAM SMITH’S NOTICE OF APPEAL

        Notice is hereby given that David William Smith, Defendant in the above case, hereby

appeals to the United States Court of Appeals for the First Circuit from an order denying

Defendant’s Motion to Compel Arbitration (ECF No. 16) entered in this action on January 30,

2019.




                                   /s/ Brian Mead
                                   Brian Mead


                                                 Respectfully submitted,

                                                 DAVID WILLIAM SMITH

                                                 By his attorneys,

                                                 /s/ Brian Mead
                                                 John F. Welsh, BBO #522640
                                                 Justin L. Engel, BBO #683894
                                                 Bello Welsh LLP
                                                 125 Summer Street, Suite 1200
                                                 Boston, MA 02110

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                                                   617-247-4100
                                                   Fax: 617 247 4125
                                                   Email: jwelsh@bellowelsh.com
                                                   Email: jengel@bellowelsh.com

                                                   Michael J. Sheehan, pro hac vice
                                                   Brian Mead, pro hac vice
                                                   McDermott Will & Emery LLP
                                                   444 West Lake Street
                                                   Chicago, Illinois 60606
                                                   (312) 372-2000 (phone)
                                                   (312) 884-7700 (fax)
                                                   msheehan@mwe.com
                                                   bmead@mwe.com

                                                   Dated: January 31, 2019


                                CERTIFICATE OF SERVICE

        I hereby certify that on January 31, 2019, the undersigned filed a copy of the above and
foregoing via the Court’s CM/ECF system, which will send notification of such filing to all
registered participants.


                                    /s/ Brian Mead
                                    Brian Mead




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